Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 1 of 26. PageID #: 398228




               PSJ2 Exh 1
Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 2 of 26. PageID #: 398229
Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 3 of 26. PageID #: 398230
      Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 4 of 26. PageID #: 398231




Endo Risk Management Strategy

• Global Issues
   Receptiveness of market to potent, chronic-
    use opioids has been dampened because of
    abuse and diversion issues with Purdue’s
    OxyContin®, played prominently in the media
   FDA is treading water
    – No clear guidance to NDA sponsors
    – “Wait to see what they offer” approach
           Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 5 of 26. PageID #: 398232




 Physician Feedback
• AAPM Advisory Boards – EN3202 & 3231
   Pain specialists / Policy makers
   Clearly afraid of abuse and diversion:
     – “OxyContin® is a good drug marketed by an unethical company”
   Advised Endo to be upfront about abuse potential and
    proactive with programs and tools to raise comfort level
    of prescribers
     – Educational programs
     – Tools to identify potential abusers
     – Registry studies
   “Endo has the chance to do it right!”
        Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 6 of 26. PageID #: 398233




 EN 3202 Qualitative Market Research


• Pain specialists, PCP’s, oncologists,
  orthopedic surgeons, rheumatologists all cite
  less frequent use of OxyContin® because of
  media attention
• Most felt that educational programs
  (especially for PCP’s) would be helpful in
  easing fears of prescribing, but would not be
  the sole factor in deciding which drug to
  prescribe
       Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 7 of 26. PageID #: 398234




Reality Check
• Endo is not the market leader
• Resources are limited relative to Purdue
  and Janssen
      Requires selective development and
     implementation of high-impact, cost-
  effective tactics that are clearly identifiable
   to Endo and its educational efforts on the
                  science of pain
      Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 8 of 26. PageID #: 398235




Implications for ENDO
• The premier pain management
  company must address abuse and
  diversion issues up front and
  proactively
• Endo must market new opioids
  responsibly and be honest about
  abuse potential
• Opportunity to partner with key pain
  management policy makers
        Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 9 of 26. PageID #: 398236




 Implications for EN3202
• EN3202 has few points of distinction from
  OxyContin®; physicians indicate that they
  will probably used them interchangeably
• Potency is double-edged sword
• Fear of abuse and deterrence is one of the
  major barriers to rapid adoption of EN3202
• Physicians are looking for an alternative to
  OxyContin® because of the media attention
  and stigma. (Mel Gitlin – Tulane – “Doctors
  will prescribe this because it is not
  OxyContin®”
         Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 10 of 26. PageID #: 398237




Implications for EN 3231
• Abuse/diversion issues with EN 3231 are a
  concern, but to a lesser extent than with extended
  release formulations (e.g. OxyContin)
• Addressing the issues of abuse is a “price of entry”
  for EN 3231 and all new opioids
• For EN 3231, it is sufficient to be a “part” of the
  educational mix, not a focus
    Primary Focus: NMDA Enhanced Analgesia and the disease of pain
     Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 11 of 26. PageID #: 398238




Corporate Strategy

• Establish Endo as the premier
  specialty pharmaceutical company and
  a leader in pain management
• Position Endo as a responsible
  marketer of opioid analgesics
         Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 12 of 26. PageID #: 398239




 EN3202 Strategy
• Differentiate EN3202 from OxyContin®
   Lower doses of EN3202 needed for equivalent analgesia
   Less escalation of dose with chronic use
   Side effects

• Create market environment prior to launch that
  ensures rapid uptake and adoption of EN3202
   Remove barriers – real and perceived - to prescribers
   Alignment with key thought leaders and regulatory agencies
    on abuse and deterrence issues
       Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 13 of 26. PageID #: 398240




EN 3231 Strategy
• Establish the science of NMDA-Enhanced Analgesia
  and link to clinical benefits
     – pathophysiological role in the disease of pain
     – link to elimination of tolerance, opioid-sparing effects

• Develop ample EN 3231 product champions
     – Recognize NMDA Enhanced Analgesia as an advance
     – Perceive Endo as a trusted partner

• Enhance the EN 3231 product profile for both
  prescribers and payors
     – Expand clinical program
     – Establish a pharmacoeconomic rationale

• Establish EN 3231 as the new standard of care for
  the management of mod/severe chronic pain
     – Based upon MOA, clinical benefits, and value
           Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 14 of 26. PageID #: 398241




EN3202
Branding/Image/ Positioning
• Branding not yet determined
• Positioning research underway
   Likely use in severe pain
     –   Cancer
     –   Severe OA
     –   Severe back pain
     –   Niches – Sickle Cell Disease / Interstitial Cystitis
   Pain Specialists and Oncologists seem most receptive to
    product profile, but are clearly concerned about abuse and
    diversion
     – Topic comes up unaided in every interview as soon as
       potency and extended release are mentioned
           Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 15 of 26. PageID #: 398242




  EN 3231
  Branding/Image/Positioning
• The branding for EN 3231 is still under development
   Unique feeling proposition: A Charismatic Agent of Change
   Pre-launch scientific exhibit reflects a “new day” in pain management

• Preliminary Positioning (research ongoing)
   Target Audiences:
     – Pain Specialists, Oncologists, and PCP’s and select others who prescribe
       opioids
   Positioning Concept:
     – EN 3231 is the first and only opioid analgesic to provide NMDA
        receptor antagonism and is the new standard of care for the
        management of moderate to severe chronic pain
   Customer Benefit:
     – EN 3231 will empower physicians to offer their patients the pain relief they
       need over the long-term to live happier, more productive lives
           Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 16 of 26. PageID #: 398243




  Key Messages for EN3202
• Potent extended release opioids are an essential tool in
  the armamentarium of pain management
• EN3202 is a better alternative to OxyContin®
   Provides better control of pain at lower mg doses
   Can be used for extended periods of time safely
   EN3202 is part of the Endo oxymorphone family of products which have
    been safely used for treatment of pain for more than 40 years

• EN3202 has the potential for abuse and diversion
• Endo works with the pain management community to
  develop educational programs and tools which help the
  prescribing physician to:
   Target appropriate patients
   Recognize high risk patients
   Recognize signs of abuse and diversion
                Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 17 of 26. PageID #: 398244




    EN 3231
    Key Messages/Reasons to Believe
•   EN 3231 prevents the activation of the NMDA receptor, which when activated plays
    an important role in the development of chronic and/or refractory pain
•   Opioid-sparing: lower dose vs. traditional opioids to achieve necessary pain relief
•   Tolerance: Unlike traditional opioids, little/no need to increase dose over time to
    achieve the same level of pain relief
•   Reduced need for rescue medication compared to traditional opioids
•   Significantly higher patient satisfaction (60% vs. 12% pre-study opioids)
•   Well-tolerated with no “new” side effects and no dose-dependent side effects


Risk Management: Advocating the appropriate use of opioids
     Opioids are an important and necessary for million of patients with pain
     However, potential for abuse/diversion exists w/all opioids, including EN 3231
     Endo is committed to working with the pain management community to develop
      educational programs and tools which help the prescribing physician to:
         –   Target appropriate patients
         –   Recognize high risk patients
         –   Recognize signs of abuse and diversion
        Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 18 of 26. PageID #: 398245




 ROI for EN3202
• Potential sales of EN3202 depend directly
  on prescribers’ comfort level with risk of
  abuse and diversion
• Current preliminary forecast estimates
  potential sales of $275-340MM
• Endo’s revenues will be 50% of total sales
  due to partnership with Penwest
• Risk management tactics will have to be
  leveraged across other products to provide
  adequate ROI (EN3231/Percocet/Dex’s)
            Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 19 of 26. PageID #: 398246




  ROI for EN 3231
• Commercial potential is most dependent on the
  level of acceptance of the science of NMDA
  Enhanced Analgesia
    Linked to clinical benefits and EN 3231

• Prescribers’ comfort level with risk of abuse and
  diversion represents a relatively smaller risk to EN
  3231 and is more closely correlated with risks
  generalized to opioids in general
• Current preliminary forecast estimates potential
  peak sales of $450-500MM
• Risk management tactics will be incorporated as
  one part of larger marketing programs (e.g.
  symposia, CME)
         Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 20 of 26. PageID #: 398247




 Timing
• Pre-launch
   Cultivate relationships with thought leaders who are
    well respected in the area of abuse and addiction
    (Portnoy/Passick)
   Incorporate risk management messages into all
    educational programs, but not as primary focus
   Develop tools which help the prescriber detect abuse
    and diversion
   Seek a seat at the policy making tables of key pain
    management organizations
      Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 21 of 26. PageID #: 398248




Timing

• Post Launch
   Comply with the FDA’s requirements for post
    marketing safety surveillence
   Roll out educational and patient tracking tools
   Be very visible as the “responsible marketer”
    of opioid analgesics with a proactive public
    relations campaign
       Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 22 of 26. PageID #: 398249




Market Research
• Abuse, addiction and diversion issues need
  to be explored with potential prescribers
   Routine agenda item at all advisory boards
     – (If we don’t bring it up, they will)
     – Probe on effectiveness of Purdue program
   Integral part of demand and positioning research
   Thorough analysis and evaluation of existing high-
    profile competitor programs (e.g. Purdue’s Partners
    Against Pain as well as others)
      Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 23 of 26. PageID #: 398250




Risk Management Musts

• Satisfy FDA Requirements
   Post marketing safety surveillence
   Educational programs on appropriate use of
    EN3202 for physicians who prescribe
   Appropriate positioning and promotion of
    EN3202
       Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 24 of 26. PageID #: 398251




Endo Late-Stage Opioids
Risk Management Tactics
• Pre-Marketing
   Align with thought leaders and organizations who are
    interested in teaching appropriate use of strong opioid
    analgesics
   Inclusion of risk management message
     – EN 3202: all presentations
     – EN 3231: part of larger symposia
   Develop tools which help physicians identify high risk
    patients and recognize signs and behaviors associates
    with abuse and diversion (i.e., SOAP)
       Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 25 of 26. PageID #: 398252




Endo Late-Stage Opioids
Risk Management Tactics
• Launch
   Sales force trained on abuse and diversion issues and
    appropriate use for chronic pain
   Proactive roll out of educational programs and patient
    management tools (Avoid perception that this has been
    mandated by FDA/DEA)
   Abuse and diversion message for sales force
     – Balanced approach in all EN3202 details
     – Avoid claims of “less abuse potential” and focus on ability to
       use lower doses of opioid
             Case: 1:17-md-02804-DAP Doc #: 2403 Filed: 08/15/19 26 of 26. PageID #: 398253




  Endo Risk Management
  Key Tactics
• SOAP
    Screening for Opioid Addiction Potential
       –   Questionnaire tool for assessing a patient’s potential for developing
           addictive and drug seeking behaviors
       –   Being developed in conjunction with NIH and NIDA by Inflexxion

• Patient Registry
    Prospective data collection on patient use of opioids, diseases being
     treated, patient satisfaction, etc. (Real world use of opioids)
• Endo Center for Pain Management
    800 END-PAIN
       –   Support for product and general questiions
       –   Access to recognized guidelines

• Patient Profiles in Pain
       –   Visualize the variety of situations encountered to advance assessment and
           management of Pain
       –   Amortize through website, personal promotion, physician/patient
           brochures, symposia
